
Kirkpatrick, C. J.
— There is no state of demand. Without this, there is no ground of action, and consequently there must be a reversal. But besides this, the second reason assigned against this judgment is, that the action was brought against the defendant on a promise to answer for the debt of a third person, and that the justice admitted parol testimony to prove this promise.
The facts set forth in this reason manifestly appear from the record before us.
By the fourteenth section of the act for the prevention [72] of frauds and perjuries it is expressly enacted that no action shall be brought whereby to charge the defendant upon any *92special promise to answer for the debt of another person, unless the same be in writing and signed by the party. Not only the action itself, therefore, [*] on such a promise is unlawful, but also all parol testimony to establish such a promise, is inadmissible. This judgment must be reversed.
Rhea, for plaintiff.
Rossell, J., and Pennington, J. — Concurred.
Judgment reversed.
